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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                  MEDFORD DIVISION


 APRIL FONSECA, aka APRIL                                 Case No.
 EHRLICH, an individual,
                                                          COMPLAINT
                                      Plaintiff,
                                                          VIOLATION OF RIGHTS TO PERSON
                      vs.                                 UNDER 42 USC § 1983
 CITY OF MEDFORD, an Oregon
 municipal corporation, and JACKSON
 COUNTY, a subdivision of the State of
 Oregon, SCOTT CLAUSON, an                                DEMAND FOR JURY TRIAL
 individual, BRIAN SJOTHUN, an
 individual, JAMES BARRINGER, an
 individual, STEVEN FURST, an
 individual, MICHAEL TODD, an
 individual, GEOFFREY KIRKPATRICK,
 an individual, RANDAL JEWELL, an
 individual, TREVOR ARNOLD, an
 individual, and ANNA STOKES, an
 individual,
                              Defendants.


       Plaintiff demands a jury trial and alleges:
                                       INTRODUCTION
                                                     1.
       April Fonseca, an award-winning journalist, was arrested and charged with trespass and
resisting arrest while she was reporting on police clearance of an encampment in Hawthorne



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Park in Medford, Oregon. Plaintiff claims compensatory and punitive damages and attorney fees
under 42 USC § 1983 for violations of her rights, including but not limited to rights under the
First, Fourth, and Fourteenth Amendments, and under Oregon common law for false arrest and
battery.
                                        JURISDICTION
                                                  2.
       Jurisdiction is conferred upon this Court by 28 U.S.C. § 1331 and is pursuant to claims
brought under 42 U.S.C. § 1983. This Court has supplemental jurisdiction over Plaintiff’s state
law claims pursuant to 28 U.S.C. § 1367. Plaintiff’s state law claims are so closely related to her
federal law claims that they are part of the same case or controversy under Article III of the
United States Constitution. Plaintiff served all required Tort Claim Notices under Oregon law
within 180 days after the events described herein.
                                            PARTIES
                                                  3.
       Plaintiff April Fonseca is an award-winning journalist who publishes under her
professional name, April Ehrlich. At all times mentioned herein, she worked as a reporter for
Jefferson Public Radio, based in Ashland, Oregon. Plaintiff has worked as a professional
journalist in the Northwest since 2014, covering inter alia housing, city government, and the oil
and gas industries. She was Vice President of the Board of the Oregon Chapter of the Society of
Professional Journalists at the time of the events described herein and continues to serve on the
Board. She has won numerous awards for her reporting, including first place awards for COVID
19 Features, Best Series, and News Features from the Public Media Journalists Association,
regional Edward R. Murrow awards for hard news and continuing series, a national Edward R.
Murrow award for Best News Series, and a first-place award for social equity reporting from the
Society of Professional Journalists NW Region. She is now the weekend news editor for Oregon
Public Broadcasting in Portland, Oregon.




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                                                 4.
       At all times mentioned herein, Scott Clauson, James Barringer, Steven Furst, Michael
Todd, Geoffrey Kirkpatrick, Randal Jewell, and Trevor Arnold were police officers in the City of
Medford, Oregon, police department, acting under color of law and within the scope of their
employment. Defendant Police Sergeant Kirkpatrick, at all times mentioned herein, was the
sergeant in charge of the Medford City Police Department livability section, in command of,
among others, Defendant Randal Jewell.
                                                 5.
       At all times mentioned herein Brian Sjothun was the City Manager of the City of
Medford, acting under color of law and within the scope of his employment.
                                                 6.
       The City of Medford is a municipal corporation within the State of Oregon.
                                                 7.
       At all times mentioned herein, Probation Officer Anna Stokes was a Jackson County
probation officer acting under color of law and within the scope of her employment.
                                                 8.
       Jackson County is a subdivision of the State of Oregon.
                                                 9.
       On Friday, September 18, 2020, then Medford Police Chief Scott Clauson (hereinafter
“Clauson”) sent an email to City Manager Brian Sjothun (hereinafter “Sjothun”) and other
Medford city officials regarding “the plan to clean up Hawthorne Park Monday [September 21,
2020] morning starting at 8 a.m.” The email began with a warning that the plan “is not for public
or media dissemination.”
                                                 10.
       Also on Friday, September 18, 2020, Defendant Sjothun sent an e-mail to Defendant
Clauson and other Medford city officials stating, “Pursuant to City Charter section 18(3)(e), I
hereby order Hawthorne Park to be closed for 48 hours commencing at 8:00 a.m. on September
21, 2020. I may extend the closure if circumstances so demand, and I delegate authority to


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extend that closure to the Chief of Police or the Parks, Recreation and Facilities director (or
employees acting in those capacities) if circumstances so demand.” In the same email, Sjothun
wrote that, “I plan on notifying the Mayor and City Council of this decision on Monday
morning.”
                                                   11.
       The Medford City Police Department issued an “Operation Plan,” dated September 18,
2020, for “Hawthorne Park Encampment Removal.” The operation plan named Defendant Police
Corporal Jewell as Event Supervisor and Defendant Police Lieutenant Arnold as Incident
Commander.
                                                   12.
       On the morning of September 22, 2020, Medford City police and Jackson County
probation officers announced Hawthorne Park was closed but allowed not only campers but also
volunteers and others to remain throughout the morning. Police and/or probation officers stated
that while people were permitted in the park to remove possessions or help others, people were
not permitted in the park to document or observe events. No exception was made for journalists.
Instead, police officers designated an area, near the noisy I-5 overpass on a busy street, outside
one end of the approximately 20-acre park, filled with trees and structures, to confine journalists
and other observers. Journalists could not see, let alone hear, all the activities within the park.
                                                   13.
       On the morning of September 22, 2020, Plaintiff entered Hawthorne Park to report on
activities in the park. She displayed her press badge and carried clearly visible audio recording
equipment while observing and documenting law enforcement activity and interactions with
campers and others.
                                                   14.
       On the morning of September 22, 2020, Defendant Police Officer Kirkpatrick was
present in the park in his role as Livability Section Sergeant, Defendant Corporal Jewell was in
the park in his role as Event Supervisor, and Defendant Police Lieutenant Arnold was in and
around the park as Incident Commander.


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                                                    15.
          Police and/or probation officers told Plaintiff the park was closed and she was not
permitted in the park. Defendant Police Sergeant Furst then approached Plaintiff as she was
documenting events in the park and told Plaintiff she was trespassing and had to leave the park.
                                                    16.
          Furst then and there grabbed Plaintiff’s right wrist and told her she was under arrest. He
then grabbed her right elbow while Stokes grabbed Plaintiff’s left arm and kicked at her feet.
Defendant Police Officer Todd grabbed Plaintiff’s left arm and forced it behind her back, and
Defendant Police Officer Barringer grabbed her right arm and forced it behind her back. These
Defendants handcuffed Plaintiff while she repeatedly identified herself as a reporter and stated
she was in the park to do her job. Defendants then forcibly removed her from Hawthorne Park.
                                                    17.
          After the arrest, Barringer and Todd searched Plaintiff’s belongings, including her
reporting equipment, and confiscated her reporting equipment. Plaintiff was charged with
Trespass, Resisting Arrest, and Interfering with an Officer. The City of Medford later dismissed
the charge of Interfering with an Officer. The Medford Municipal Court later dismissed the
Trespassing charge, after which the City of Medford dismissed the remaining charge of Resisting
Arrest.
                                                    18.
          As a result of Defendants’ actions, Plaintiff could not perform her job as a journalist that
day, nor could she continue to cover the Hawthorne Park clearance and its aftermath.
                      FIRST CLAIM FOR RELIEF – 42 U.S.C. § 1983 –
                 First and Fourteenth Amendments to the U.S. Constitution –
                           Freedom of Press and Freedom of Speech
            Against All Defendants Except the City of Medford and Jackson County

                                                    19.
          Plaintiff re-alleges all preceding paragraphs and the facts and allegations therein.




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                                                  20.
       42 U.S.C. § 1983 provides that a party shall be liable when it “subjects, or causes to be
subjected, any person of the United States ... deprivation of any rights, privileges, or immunities
secured by the Constitution and laws of the United States.”
                                                  21.
       Defendants’ arrest and removal of Plaintiff from Hawthorne Park deprived her of the
ability to do her job as a journalist, in violation of her First and Fourteenth Amendment rights.
                    SECOND CLAIM FOR RELIEF– 42 U.S.C. § 1983 –
                First and Fourteenth Amendments to the U.S. Constitution –
                          Freedom of Press and Freedom of Speech
                     Against Defendant City of Medford—Monell claim

                                                  22.
       Plaintiff re-alleges all preceding paragraphs and the facts and allegations therein.
                                                  23.
       Defendant City of Medford violated Plaintiff’s rights by creating and implementing a
policy that prevented her from observing and reporting on the events in Hawthorne Park on
September 22, 2020, activities protected by the First and Fourteenth Amendments to the United
States Constitution. Without conceding that any restrictions would have been constitutional,
Defendant also failed to narrowly tailor any restrictions on journalists observing and reporting on
police activity and interaction with people in Hawthorne Park on September 22, 2020. The
“media staging area” did not permit journalists to observe and document government activity in
Hawthorne Park.
                    THIRD CLAIM FOR RELIEF – 42 U.S.C. § 1983
               First and Fourteenth Amendments to the U.S. Constitution
                        Freedom of Press and Freedom of Speech
Supervisory Liability against Defendants City of Medford, Clauson, Sjothun, Kirkpatrick,
                                   Arnold, and Jewell

                                                  24.
       Plaintiff re-alleges all preceding paragraphs and the facts and allegations therein.




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                                                  25.
       Defendants City of Medford, Clauson, Sjothun, Kirkpatrick, Arnold, and Jewell violated
Plaintiff’s rights by failing to properly train, supervise and control officers implementing the
aforementioned policy, conduct showing a reckless or callous indifference to Plaintiff’s rights.
Defendants thereby set in motion a series of acts by others which Defendants knew or reasonably
should have known would cause others to inflict constitutional harms.
                                                  26.
       This failure to train, supervise and control officers implementing this policy led to the
wrongful arrest of Plaintiff, violating her constitutionally protected rights to observe and report
on the events in Hawthorne Park on September 22, 2020.
                   FOURTH CLAIM FOR RELIEF – 42 U.S.C. § 1983 –
              Fourth and Fourteenth Amendments to the U.S. Constitution –
                              Unlawful Search and Seizure
          Against All Defendants Except the City of Medford and Jackson County

                                                  27.
       Plaintiff re-alleges and incorporates by reference all preceding paragraphs and the facts
and allegations therein.
                                                  28.
       42 U.S.C. § 1983 provides that a party shall be liable when it “subjects, or causes to be
subjected, any person of the United States ... deprivation of any rights, privileges, or immunities
secured by the Constitution and laws of the United States.”
                                                  29.
       Defendants violated Plaintiff’s right to be free from unreasonable searches and seizures,
guaranteed by the Fourth and Fourteenth Amendment to the United States Constitution, by
unlawfully arresting Plaintiff and unlawfully searching her person and her possessions.




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                    FIFTH CLAIM FOR RELIEF –42 U.S.C. § 1983 –
              Fourth and Fourteenth Amendments to the U.S. Constitution –
            Unlawful Search and Seizure against City of Medford—Monell claim

                                                   30.
       Plaintiff re-alleges and incorporates by reference all preceding paragraphs and the facts
and allegations therein.
                                                   31.
       Defendants created and implemented a policy that purported to block all reporters from
entering a public park to observe and report on government activities. These unlawful actions
resulted in Defendants’ unlawful arrest and search of Plaintiff, in violation of her right to be free
from unreasonable searches and seizures, guaranteed by the Fourth and Fourteenth Amendments
to the United States Constitution.
                   SIXTH CLAIM FOR RELIEF – 42 U.S.C. § 1983
             Fourth and Fourteenth Amendments to the U.S. Constitution
 Unlawful Search and Seizure-Supervisory Liability against Defendants City of Medford,
                  Clauson, Sjothun, Kirkpatrick, Jewell, and Arnold

                                                   32.
       Plaintiff re-alleges all preceding paragraphs and the facts and allegations therein.
                                                   33.
       Defendants City of Medford, Clauson, Sjothun, Kirkpatrick, Arnold, and Jewell violated
Plaintiff’s rights by failing to properly train, supervise and control officers implementing this
policy, conduct showing a reckless or callous indifference to Plaintiff’s rights. Defendants
thereby set in motion a series of acts by others which Defendants knew or reasonably should
have known would cause others to inflict constitutional harms.
                                                   34.
       This resulted in the unlawful arrest and search of Plaintiff, in violation of her right to be
free from unreasonable search and seizure guaranteed by the Fourth and Fourteenth Amendments
to the United States Constitution.




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                        SEVENTH CLAIM FOR RELIEF- False Arrest
                    Against Defendants City of Medford and Jackson County

                                                    35.
          Plaintiff re-alleges and incorporates by reference all preceding paragraphs and the facts
and allegations therein.
                                                    36.
          The above-described stop and arrest were intentional, Plaintiff was aware of her arrest,
and the arrest was unlawful, thus violating Oregon’s common law prohibition against false
arrest.
                           EIGHTH CLAIM FOR RELIEF- Battery
                    Against Defendants City of Medford and Jackson County

                                                    37.
          Plaintiff re-alleges and incorporates by reference all preceding paragraphs and the facts
and allegations therein. During the above described stop and arrest, Plaintiff’s wrists were
grabbed, her arms were forced behind her back, her feet and legs were kicked, and she was
forcibly removed from the park.
                                                    38.
          The above-described contact was intentional and unlawful, thus violating Oregon’s
common law prohibition against battery.
                                             DAMAGES
                                                    39.
          Plaintiff re-alleges and incorporates by reference all preceding paragraphs and the facts
and allegations therein.


                                                    40.
          As a result of Defendants’ actions, Plaintiff suffered from wrenching of her arms and
wrists, pain and alarm, and suffered, continues to suffer, and may permanently suffer from




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humiliation, frustration, anger, and a sense of personal violation, all to her noneconomic
damages in an amount to be determined by the jury.
                                                  41.
        The Defendants’ conduct toward Plaintiff demonstrated a wanton, reckless or callous
indifference to the constitutional rights of Plaintiff. The jury should be allowed to consider
punitive damages to deter this conduct and similar conduct by the defendants and others
similarly situated in the future.
                                                  42.
        WHEREFORE, Plaintiff prays for judgment against all defendants in amounts to be
determined by the jury, and for her costs, expenses, and reasonable attorney fees incurred herein.
                                    DEMAND FOR JURY TRIAL
        Plaintiff hereby demands a Jury Trial on all questions so triable.


        DATED: September 20, 2022
                                                              /s/ Jason Kafoury

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